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                                                                          10/16/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                             :
 KIMU JOHNSON,
                                                             :
                                     Plaintiff,              :
                                                             :
                        -against-                            :     1:19-cv-9525-ALC
                                                             :
 PORT AUTHORITY TRANS HUDSON                                 :     ORDER
 CORP.                                                       :
                                                             :
                                     Defendant.              :
                                                             :
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ANDREW L. CARTER, JR., United States District Judge:

        The Court will conduct a telephone status conference in this action on October 23, 2020

at 11:30 a.m. Parties should contact the Court at 1-888-363-4749 (Conference Code: 3768660)

on the date and time specified above.

SO ORDERED.

Dated: October 16, 2020
       New York, New York                                    ___________________________________
                                                                   ANDREW L. CARTER, JR.
                                                                   United States District Judge
